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                                                      January 28, 2021

BY EMAIL & ECF
                                                   Application GRANTED. The motions scheduled is
The Honorable Jesse M. Furman                      hereby adopted. The Clerk of Court is directed to
                                                   terminate Doc. #104. SO ORDERED.
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007

RE:   United States v. Michael Avenatti
                                                                 January 29, 2021
      19 Cr. 374 (JMF)

Dear Judge Furman:

       We write in response to the Court’s Order dated January 8, 2021 adjourning trial
in the above-captioned case to January 10, 2022. Pursuant to that Order, we confirm that
Michael Avenatti is aware of the new trial date. Mr. Avenatti understands that this is a
firm date and looks forward to this matter being adjudicated.

       With respect to defense motions, we respectfully seek leave to file any
applications by May 1, 2021, with responses due by June 1, 2021 and replies due by June
18, 2021. The defense is confident that this schedule leaves ample time to address the
issues we anticipate raising without any effect on the trial date.

                                                      Respectfully Submitted,

                                                                   /s/
                                                      Robert M. Baum
                                                      Tamara L. Giwa
                                                      Andrew J. Dalack
                                                      Assistant Federal Defenders

Cc:   Government Counsel                              Counsel for Michael Avenatti
